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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         § CRIMINAL ACTION NO. 2:13-CR-764-6
                                            §
PETER MORALES; aka PIRUCHA                  §

                      FINDINGS AND RECOMMENDATION
                            ON PLEA OF GUILTY

       United States District Judge Nelva Gonzales Ramos referred this case to the

undersigned United States Magistrate Judge for the purpose of conducting a guilty plea

proceeding pursuant to Rule 11 of the Federal Rules of Criminal Procedure.            The

undersigned submits these Findings and Recommendation to the District Judge pursuant

to 28 U.S.C. § 636(b)(3). All parties have waived the right to plead before a United

States District Judge, and additionally, have consented to proceed before the undersigned.

       On January 16, 2014, the defendant appeared with counsel before the undersigned

Magistrate Judge and pleaded guilty to Count One of the indictment without a written

plea agreement. The defendant was personally addressed in open court and admonished

pursuant to Rule 11 of the Federal Rules of Criminal Procedure as follows:

       1.     The defendant was placed under oath and advised that any false answers
given during the plea proceeding could be used by the United States against the defendant
in a prosecution for perjury or for making a false statement.

       2.     The defendant was advised that Count One of the indictment charged a
violation of Title 21, United States Code, Section 846 which makes it unlawful for a
person to knowingly and intentionally conspire and agree with other persons to possess
with the intent to distribute a controlled substance. The defendant was further advised
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that the indictment alleged a conspiracy involving more than five (5) kilograms of
cocaine, a Schedule II, controlled substance. The defendant was advised that this section
of Title 21 makes it unlawful for any person to knowingly and intentionally conspire with
another person to possess with intent to distribute a controlled substance.

        3.    The defendant was advised of the defendant’s right to a jury trial, the right
to the presumption of innocence, and the right to require that the United States prove each
of the elements of the offense to a jury beyond a reasonable doubt. The defendant was
further advised that the right to a jury trial included the right to see, hear and cross-
examine witnesses, the right to compel witnesses to appear on the defendant’s behalf, and
the right to testify on the defendant’s behalf or to remain silent. The defendant was
advised that a plea of guilty would waive the right to a jury trial, the right to see, hear and
cross examine witnesses, the right to compel witnesses to appear in the defendant’s
behalf, and the right to remain silent.

       4.      The defendant was advised that the United States must prove: (1) That two
or more persons, directly or indirectly, reached an agreement to possess a controlled
substance with the intent to distribute; (2) That the defendant knew of the unlawful
purpose of the agreement; (3) That the defendant joined in the agreement willfully, that
is, with the intent to further its unlawful purpose; and (4) That the overall scope of the
conspiracy involved more than five (5) kilograms of cocaine.

        5.     The defendant was advised that the penalty range for this offense included a
mandatory minimum 10 year period of imprisonment and a maximum period of
imprisonment for life, without probation, parole or a suspended sentence, a fine not to
exceed $10 million, at least 5 years of supervised release that could last the rest of his
life, and that that any violation of supervised release could result in an additional prison
term of up to 5 years.

       The defendant also was advised that even if he received the maximum sentence for
violation of supervised release, if he had not completed his full term of supervised
release, he could be re-released to supervised release, and if revoked again he could
receive up to the maximum revocation sentence again. The defendant was advised that
this could happen multiple times until he had completed serving his term of supervised
release.

        The defendant also was advised that a mandatory $100 special assessment applied
to this felony conviction.



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       6.     The defendant was advised of the District Court’s obligation to calculate
the applicable advisory sentencing guideline range and to consider that advisory range,
possible departures and variances under the Sentencing Guidelines, and other sentencing
factors under 18 U.S.C. § 3553(a). The defendant further stated that he understood and
had discussed with his attorney how the guidelines might be calculated in his case and
applied to him.

      7.     The defendant was advised that there was no plea agreement with the
United States. The defendant and his counsel said the government offered a plea
agreement and it was rejected after defense counsel reviewed and explained the plea
agreement to the defendant.

        8.     The defendant was advised that conviction of this offense would cause him
to lose certain rights he has as a citizen, such as the right to possess and own firearms, the
right to vote, the right to serve on a jury, and the right to hold public office, and the
defendant stated that he understood and had discussed these matters with his attorney.

       The defendant stated that he had received a copy of the indictment, he understood

the nature of the charge, the maximum possible penalty, and the consequences of

pleading guilty. The defendant further stated that the plea of guilty was made freely and

voluntarily, and did not result from any force, threats or coercion, and no one had

promised the defendant a certain sentence. The defendant stated that he understood that if

he did not receive the sentence hoped for, he could not withdraw his plea of guilty. The

undersigned finds the defendant to be sufficiently competent to enter a plea of guilty.

       The defendant pleaded guilty to the offense of conspiracy to possess with the

intent to distribute more than five (5) kilograms of cocaine in violation of 21 U.S.C. §§

846, 841(a)(1) and 841(b)(1)(A) as alleged in Count One of the Indictment. When

questioned about his involvement in the conspiracy, the defendant agreed with the

Assistant U.S. Attorney’s recitation of the facts as they related to his actions and role in

the conspiracy. Further, the defendant admitted each of the elements of the offense.

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       The undersigned United States Magistrate Judge finds that defendant’s guilty plea

was freely and voluntarily tendered and did not result from force, threats, or promises and

that an adequate factual basis exists in relation to this plea.


                                  RECOMMENDATION

       It is respectfully recommended that the District Court adopt the foregoing

findings, accept the defendant’s plea of guilty, and enter a finding that the defendant is

guilty as charged in the indictment.

       Respectfully submitted this 17th day of January, 2014.


                                                ___________________________________
                                                             Jason B. Libby
                                                      United States Magistrate Judge




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                                NOTICE TO PARTIES

       The Clerk will file the Findings and Recommendation on Plea of Guilty and

transmit a copy to each party or counsel. Within FOURTEEN (14) DAYS after being

served with a copy of the Memorandum and Recommendation, a party may file with the

Clerk and serve on the United States Magistrate Judge and all parties, written objections,

pursuant to Fed. R. Crim. P. 59(b), 28 U.S.C. § 636(b)(1), and General Order No. 2002-

13, United States District Court for the Southern District of Texas.


       A party’s failure to file written objections to the proposed findings, conclusions,

and recommendation in a magistrate judge’s report and recommendation within

FOURTEEN (14) DAYS after being served with a copy shall bar that party, except upon

grounds of plain error, from attacking on appeal the unobjected-to proposed factual

findings and legal conclusions accepted by the district court. Douglass v. United Servs.

Auto Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).




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